  Case 14-91200       Doc 77     Filed 11/08/18 Entered 11/08/18 12:11:40            Desc Main
                                   Document     Page 1 of 3



IT IS SO ORDERED.

SIGNED THIS: November 8, 2018




                              _______________________________
                                     William V. Altenberger
                                United States Bankruptcy Judge
 ___________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                           CENTRAL DISTRICT OF ILLINOIS

IN RE:                                               Case Number: 14-91200

Kevin J. Varner
Dawn M. Varner                                       CHAPTER 13



         Debtor

  AGREED ORDER ON MOTION TO MODIFY AUTOMATIC STAY FILED BY US
 BANK TRUST NATIONAL ASSOCIATION, AS TRUSTEE OF THE SCIG SERIES III
                 TRUST AS TO PROPERTY LOCATED AT
          16104 POTTERS WOODS RD., DANVILLE, IL 61834-5935

    This matter having come before the Court upon the Motion to Modify Automatic Stay filed
herein by the secured creditor, US Bank Trust National Association, as Trustee of the SCIG
Series III Trust (“Movant”) and it appearing to the Court that parties have agreed to a course of
action which will permit the continuation of the automatic stay conditioned upon certain
provisions incorporated herein for the protection of Movant:

   1. The Chapter 13 plan filed herein on behalf of the Debtors provided that said Debtors
      were to make regular monthly payments to Movant outside of the Plan in a regular
      monthly fashion regarding the real property located at 16104 POTTERS WOODS RD.,
      DANVILLE, IL 61834-5935 (“Property”).

   2. In breach of the terms of said Plan, the Debtors failed to make certain of the regular
      monthly payments to Movant; said payments are currently in default from June 1, 2018
  Case 14-91200       Doc 77    Filed 11/08/18 Entered 11/08/18 12:11:40            Desc Main
                                  Document     Page 2 of 3


       through and including October 1, 2018 in the amount of $651.10, each, as well as fees
       and costs of $1,031.00 for a total of $4,286.50.

   3. In order to eliminate said post-petition delinquency, the Debtors hereby agree to pay
      Movant and Movant hereby agrees to accept in the form of certified funds the following
      lump sum payments:

           a.   $714.42 on or before November 15, 2018.
           b.   $714.42 on or before December 15, 2018.
           c.   $714.42 on or before January 15, 2019.
           d.   $714.42 on or before February 15, 2019.
           e.   $714.42 on or before March 15, 2019.
           f.   $714.40 on or before April 15, 2019.


   4. These lump sum payments are in addition to the regular monthly payment in the amount
      of $651.10. The next monthly payment was due on November 1, 2018 and it must be
      paid prior to November 15, 2018. All future regular monthly payments are due on or
      before the 1st day of each month.

   5. All payments, stipulated and ongoing monthly payments, are to include the Debtors’
      account number and be sent to:

       SN Servicing Corp
       PO Box 660820
       Dallas, TX 75266-0820

   6. In the event that said Debtors should fail to make any of the lump sum payments herein
      described on or before their specified due dates, or should the Debtors fail to pay any
      future monthly payments so that said payments are not received by Movant by the last
      day of the month in which it is due, then, or in either of those events, Movant shall give
      ten (10) days’ notice to Debtors’ counsel and to the Debtors; and thereafter Movant shall
      file with the Court an affidavit certifying that the Debtors are in default under the terms
      of the Agreed Order and upon submission of such affidavit, the Court shall enter an
      order, without hearing, providing Movant with relief from stay and abandonment.



_/s/ D. Anthony Sottile________
D. Anthony Sottile (IN 27696-49)
Sottile and Barile, Attorneys at Law
P.O. Box 476
Loveland, OH 45140
Phone: 513.444.4100
bankruptcy@sottileandbarile.com
  Case 14-91200      Doc 77    Filed 11/08/18 Entered 11/08/18 12:11:40   Desc Main
                                 Document     Page 3 of 3



_/s/ Terrence Miles_____________
Terrence Miles
301 W North
Danville, IL 61832
Phone: (217) 442-3947
packs@aol.com
(Per e-mail authorization received 11/06/2018)

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